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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 Dezeray M. Roblero‐Barrios,                       Case No. 20‐CV‐1034 (NEB/LIB)

                      Plaintiff,

 v.                                             ORDER ACCEPTING REPORT AND
                                                    RECOMMENDATION
 Lawanna Beebout, Marie Beebout,
 Magistrate Judge Debra A. Heise, Bonner
 County Sheriff’s Department, Deputy
 Hutchinson, John and Jane Does,

                      Defendants.



       The Court has received the August 12, 2020, Report and Recommendation of

United States Magistrate Judge Leo I. Brisbois. (ECF No. 3.) No party has objected to that

Report and Recommendation, and the Court therefore reviews it for clear error. See Fed.

R. Civ. P. 72(b); Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (per curiam). Finding

no clear error, and based upon all the files, records, and proceedings in the above‐

captioned matter, IT IS HEREBY ORDERED THAT:

          1. The Report and Recommendation (ECF No. 3) is ACCEPTED;

          2. Plaintiff’s Application to Proceed In Forma Pauperis (ECF No. 2) is DENIED;

              and
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         3. Plaintiff’s Complaint (ECF No. 1) is DISMISSED WITH PREJUDICE.

LET JUDGMENT BE ENTERED ACCORDINGLY.




Dated: October 16, 2020                    BY THE COURT:

                                           s/Nancy E. Brasel
                                           Nancy E. Brasel
                                           United States District Judge




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